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             United States Court of Appeals
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT



                                Filed January 16, 2024

                                     No. 23-5044

              IN RE: THE SEARCH OF INFORMATION STORED AT PREMISES
                           CONTROLLED BY TWITTER, INC.


                     Appeal from the United States District Court
                             for the District of Columbia
                                 (No. 1:23-sc-00031)


                          On Petition for Rehearing En Banc


            Before: SRINIVASAN, Chief Judge; HENDERSON*, MILLETT,
            PILLARD, WILKINS, KATSAS*, RAO*, WALKER*, CHILDS,
            PAN, and GARCIA, Circuit Judges.

                                     ORDER

                 Upon consideration of appellant’s petition for rehearing
            en banc, the response thereto, the amicus curiae brief filed by
            Electronic Frontier Foundation in support of rehearing en
            banc, and the absence of a request by any member of the court
            for a vote, it is

                ORDERED that the petition be denied.

                                     Per Curiam
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                                               FOR THE COURT:
                                               Mark J. Langer, Clerk

                                      BY:      /s/
                                               Daniel J. Reidy
                                               Deputy Clerk


            * A statement by Circuit Judge Rao, joined by Circuit Judges
            Henderson, Katsas, and Walker, respecting the denial of the
            petition for rehearing en banc, is attached.
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                RAO, Circuit Judge, statement respecting the denial of
            rehearing en banc, joined by HENDERSON, KATSAS, and
            WALKER, Circuit Judges: This case turned on the First
            Amendment rights of a social media company, but looming in
            the background are consequential and novel questions about
            executive privilege and the balance of power between the
            President, Congress, and the courts.

                 Seeking access to former President Donald Trump’s
            Twitter/X account, Special Counsel Jack Smith directed a
            search warrant at Twitter and obtained a nondisclosure order
            that prevented Twitter from informing President Trump about
            the search. The Special Counsel’s approach obscured and
            bypassed any assertion of executive privilege and dodged the
            careful balance Congress struck in the Presidential Records
            Act. The district court and this court permitted this arrangement
            without any consideration of the consequential executive
            privilege issues raised by this unprecedented search.

                 We should not have endorsed this gambit. “[A]ny court
            completely in the dark as to what Presidential files contain is
            duty bound to respect the singularly unique role under Art. II
            of a President’s communications and activities” by affording
            such communications a presumptive privilege. United States v.
            Haldeman, 559 F.2d 31, 76 (D.C. Cir. 1976) (en banc) (cleaned
            up). Rather than follow established precedent, for the first time
            in American history, a court allowed access to presidential
            communications before any scrutiny of executive privilege.

                 The options at this juncture are limited. Once informed of
            the search, President Trump could have intervened to protect
            claims of executive privilege, but did not, and so these issues
            are not properly before the en banc court. Nonetheless,
            executive privilege is vital to the energetic and independent
            exercise of the President’s Article II authority and to the
            separation of powers. While the privilege may yield to the
            needs of a criminal investigation, in making this determination,
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            the Supreme Court and this circuit have always carefully
            balanced executive privilege against other constitutional
            interests. By contrast, the court here permitted a special
            prosecutor to avoid even the assertion of executive privilege by
            allowing a warrant for presidential communications from a
            third party and then imposing a nondisclosure order. Because
            these issues are likely to recur, I write separately to explain how
            the decisions in this case break with longstanding precedent
            and gut the constitutional protections for executive privilege.

                                            I.

                 As part of the criminal investigation into President
            Trump’s alleged efforts to interfere with the peaceful transfer
            of power after the 2020 presidential election, the Special
            Counsel obtained a search warrant for the President’s Twitter
            account. After President Trump left office, the contents of his
            Twitter account from his time in office were deposited with the
            National Archives and Records Administration. Although an
            Executive Branch agency held the account data, the Special
            Counsel admitted he did not seek the account from the
            Archives because a request to the Archives “would trigger
            notice to the former President under” the Presidential Records
            Act, Pub. L. No. 95-591, 92 Stat. 2523 (1978) (codified at 44
            U.S.C. §§ 2201 et seq.). To avoid the notice required by law,
            the Special Counsel instead directed a search warrant at Twitter
            and obtained an order prohibiting Twitter from disclosing the
            warrant to anyone, including President Trump or his agents.
            Twitter ultimately complied with the warrant, releasing the
            requested information. See In re Sealed Case (“Twitter”), 77
            F.4th 815, 821 (D.C. Cir. 2023). The release included 32 direct
            messages sent by President Trump. He was informed of the
            warrant and disclosure only months later. See id. at 825.
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                 The district court rejected Twitter’s First Amendment
            challenge to the nondisclosure order. The court held the order
            was a narrowly tailored means to serve the compelling
            government interest in maintaining the secrecy of the Special
            Counsel’s investigation. The court reasoned that disclosing the
            search warrant to President Trump or his representatives would
            jeopardize the criminal investigation. A panel of this court
            affirmed the district court in full. Id. at 836.

                 The First Amendment and other arguments Twitter
            advances in seeking rehearing en banc are important and may
            warrant further review. I write, however, to highlight the
            substantial executive privilege issues implicated by this case.
            While a Twitter account primarily consists of public tweets, it
            may also include some private material, such as direct
            messages between users, drafts, and personal metadata. In fact,
            the material produced by Twitter included several dozen direct
            messages written by a sitting President. The district court
            afforded no opportunity for the former President to invoke
            executive privilege before disclosure, and this court made no
            mention of the privilege concerns entangled in a third-party
            search of a President’s social media account. This approach
            directly contravenes the principles and procedures long used to
            adjudicate claims of executive privilege.

                                          II.

                 Executive privilege is “fundamental to the operation of
            Government and inextricably rooted in the separation of
            powers under the Constitution.” United States v. Nixon
            (“Nixon”), 418 U.S. 683, 708 (1974). The privilege flows from
            the vesting of all executive power in a single President and
            “derives from the supremacy of the Executive Branch within
            its assigned area of constitutional responsibilities.” Nixon v.
            Adm’r of Gen. Servs. (“GSA”), 433 U.S. 425, 447 (1977). The
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            confidentiality of presidential communications is critical to the
            energetic exercise of executive power and to the independence
            of the Executive Branch. It is well established that such
            privilege extends beyond a President’s time in office. Id. at
            448–49.

                 When exercising the judicial obligation to determine the
            validity and scope of executive privilege, the Supreme Court
            and this circuit have recognized certain implementing rules for
            adjudicating privilege claims. See Nixon, 418 U.S. at 713–14;
            Nixon v. Sirica, 487 F.2d 700, 714–18 (D.C. Cir. 1973) (en
            banc). Faced with a subpoena or other request for documents,
            the President may invoke executive privilege, and upon such
            invocation, the documents become “presumptively privileged.”
            Nixon, 418 U.S. at 713; see also In re Sealed Case (“Espy”),
            121 F.3d 729, 744 (D.C. Cir. 1997). Courts must afford
            presidential materials this presumption even in the absence of
            an assertion of executive privilege. See Haldeman, 559 F.2d at
            76–77; cf. Cheney v. U.S. District Court for D.C., 542 U.S. 367,
            391 (2004) (correcting the lower court’s “mistaken assumption
            that the assertion of executive privilege is a necessary
            precondition to” considering separation of powers objections).

                 While the privilege is not absolute, it may “be defeated
            only by a strong showing of need.” Senate Select Comm. on
            Presidential Campaign Activities v. Nixon (“Senate Select”),
            498 F.2d 725, 730 (D.C. Cir. 1974) (en banc). For example,
            when the special prosecutor sought President Nixon’s tapes for
            a criminal investigation, the Court required the prosecutor to
            show a “demonstrated, specific need for evidence” and to prove
            that the material was “essential to the justice of the [pending
            criminal] case.” Nixon, 418 U.S. at 713 (quoting United States
            v. Burr, 25 F. Cas. 187, 192 (C.C.D. Va. 1807) (Marshall,
            C.J.)). And while the privilege yielded in that case, we held that
            a congressional committee subpoenaing a set of President
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            Nixon’s tapes had failed to show the material was
            “demonstrably critical to the responsible fulfillment of [its]
            functions.” Senate Select, 498 F.2d at 731.

                 Moreover, as a practical matter, we have emphasized that
            determinations regarding executive privilege must occur case-
            by-case and with careful attention to each document. While the
            privilege may yield to other important constitutional interests,
            any disclosure must be limited to the materials relevant to those
            needs. See Espy, 121 F.3d at 761 (requiring the district court to
            specifically identify the privileged information required to
            meet the demonstrated need and limiting disclosure only to
            those documents or parts of documents); Nixon, 418 U.S. at
            714–16 (authorizing the release of only relevant and admissible
            portions of President Nixon’s tapes and emphasizing the rest
            “must be excised” and “restored to its privileged status”).

                 Our established procedures for evaluating executive
            privilege comport with Chief Justice Marshall’s admonition
            that “[i]n no case of this kind would a court be required to
            proceed against the president as against an ordinary
            individual.” Burr, 25 F. Cas. at 192. When presidential
            privileges are implicated, the Supreme Court and this court
            have recognized the important and delicate constitutional
            interests at stake and carefully weighed the privilege against
            other governmental interests.

                                           A.

                In every case involving access to presidential
            communications, the President has been able to litigate claims
            of executive privilege, or the court has denied access to the
            materials. I can find no precedent for what occurred here,
            namely the court-ordered disclosure of presidential
            communications without notice to the President and without
            any adjudication of executive privilege. Approval of the
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            Special Counsel’s search warrant and nondisclosure order, with
            no consideration for the confidentiality of presidential
            materials, constitutes a “significant departure from historical
            practice.”1 Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031
            (2020). This unprecedented approach is mistaken for at least
            three reasons.

                 First, neither the district court nor this court explained why
            presidential privilege may be circumvented with the simple
            expediency of a search warrant and nondisclosure order.
            Indeed, this extraordinary approach cannot be squared with the
            vital constitutional protection for executive privilege. In every
            prior case involving materials that might be covered by
            presidential privilege, the President has been allowed to raise
            the privilege claim before disclosure. See, e.g., Nixon, 418 U.S.
            at 714–16 & n.21 (requiring the President have an opportunity

            1
              The Supreme Court has twice in recent years repudiated a decision
            of this court for failing to recognize serious separation of powers
            concerns implicated by novel intrusions on the presidency. When a
            committee of the House of Representatives subpoenaed President
            Trump’s accountants for his tax returns, the Court explained the
            unprecedented nature of the dispute, identified the threats it posed to
            the Office of the President, and held that our court “did not take
            adequate account of” the “special concerns regarding the separation
            of powers.” Mazars, 140 S. Ct. at 2036. And when this court
            suggested that a sitting President may override the executive
            privilege claims of a former President, the Supreme Court stated that
            this was “nonbinding dicta” because the “circumstances [in which] a
            former President may obtain a court order preventing disclosure of
            privileged records from his tenure in office, in the face of a
            determination by the incumbent President to waive the privilege, are
            unprecedented and raise serious and substantial concerns.” Trump v.
            Thompson, 142 S. Ct. 680, 680 (2022) (denial of application for stay
            of mandate and injunction pending review); see also id. at 680–81
            (Kavanaugh, J., statement respecting denial of application for stay).
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            to raise privilege before enforcement of a subpoena); Dellums
            v. Powell, 642 F.2d 1351, 1364 (D.C. Cir. 1980) (holding the
            former President “must be given an opportunity to present his
            particularized claims of Presidential privilege”); see also
            United States v. Reynolds, 345 U.S. 1, 8 (1953) (emphasizing
            the court’s duty to determine the appropriateness of an
            executive privilege claim “without forcing a disclosure of the
            very thing the privilege is designed to protect”). By contrast,
            here the former President was not given an opportunity to assert
            privilege over communications made during his time in office.
            The warrant and nondisclosure order were an end-run around
            executive privilege, ignoring the need to “afford Presidential
            confidentiality the greatest protection consistent with the fair
            administration of justice.” Nixon, 418 U.S. at 715.

                 Second, the process employed by the Special Counsel and
            sanctioned by the district court evades the meticulous
            protections for presidential privilege established by Congress
            in the Presidential Records Act and reflected in traditional
            Executive Branch practice. The Act requires notice to a former
            President before the disclosure of any potentially privileged
            material. See 44 U.S.C. § 2206(3). The Archivist must
            “promptly notif[y]” a former President if his records are
            subpoenaed or otherwise sought for “any civil or criminal
            investigation.” 36 C.F.R. § 1270.44(a)(1), (c); cf. GSA, 433
            U.S. at 444 (upholding the constitutionality of an earlier
            presidential records statute in part because the statute provided
            an opportunity to assert executive privilege). After notice, the
            former President may assert privilege, and if the Archivist
            decides to release material over such a claim, the former
            President may seek judicial review of his “rights or privileges.”
            44 U.S.C. § 2204(e). Moreover, by Executive Order, when a
            former President raises a privilege claim, the Archivist must
            consult with the Executive Branch and “abide by any
            instructions given him by the incumbent President or his
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             designee unless otherwise directed by a final court order.”
             Exec. Order No. 13,489, 74 Fed. Reg. 4669, 4670 (Jan. 21,
             2009). And before disclosing any presidential records, the
             Archivist must provide 30-day notice to the former President,
             allowing him to seek judicial review. Id.

                  Both the Presidential Records Act and longstanding
             Executive Branch practice include: (1) notice to a former
             President before disclosure of presidential records; (2) an
             opportunity to assert executive privilege; (3) consideration by
             the incumbent President of privilege issues; and (4) judicial
             review of claims of executive privilege before disclosure.
             These procedures effectuate the President’s constitutional
             privilege—they are part of the “traditional way[s] of
             conducting government” between the branches. Mazars, 140
             S. Ct. at 2035 (cleaned up).

                  Nonetheless, the Special Counsel acknowledged
             deliberately circumventing notice to the former President by
             going to Twitter for the communications, rather than to the
             National Archives. But as the Supreme Court has admonished,
             we cannot “sidestep constitutional requirements any time a
             President’s information is entrusted to a third party[.] … The
             Constitution does not tolerate such ready evasion; it deals with
             substance, not shadows.” Id. (cleaned up).

                  Third, the judicial decisions here provide less protection to
             executive privilege claims than to privilege claims raised by
             Members of Congress under the Speech or Debate Clause.
             When the Executive searches a place where legislative
             materials are likely to exist—such as a Member’s office or cell
             phone—a Member must be able to assert the Clause’s
             protections before any materials are disclosed. See United
             States v. Rayburn House Off. Bldg., 497 F.3d 654, 662–63
             (D.C. Cir. 2007); see also In re Sealed Case (“Perry”), 80 F.4th
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             355, 366 (D.C. Cir. 2023). By contrast, the district court
             allowed disclosure of presidential communications to the
             Special Counsel without notice to the former President or any
             opportunity to assert executive privilege. This disparity makes
             little sense given the constitutional foundation of executive
             privilege, which derives from the “President’s unique powers
             and profound responsibilities.” Espy, 121 F.3d at 749; see also
             Nixon, 418 U.S. at 711–12.

                  The warrant and nondisclosure order sought private
             presidential communications within President Trump’s Twitter
             account. In these circumstances, the district court should have
             recognized that such material was “presumptively privileged,”
             allowed the former President an opportunity to assert claims of
             executive privilege, and assessed any privilege claim against
             the needs of the Special Counsel’s investigation.

                                           B.

                  To bypass the procedures established by Congress,
             longstanding Executive Branch practice, and Supreme Court
             precedent, the Special Counsel asserted that the search warrant
             had to be executed without notice to the former President
             because notice would endanger the secrecy of the Special
             Counsel’s investigation and give President Trump an
             opportunity to destroy evidence and intimidate witnesses. The
             interests of a criminal investigation may ultimately override a
             President’s claim of executive privilege, but the clear
             throughline of our cases is that presidential communications
             are “presumptively privileged,” and the court must balance any
             countervailing constitutional interests. Cf. Nixon, 418 U.S. at
             708–13; Haldeman, 559 F.2d at 76–77. Neither the Supreme
             Court nor this court has ever suggested that the interests of
             criminal justice can thwart even the consideration of
             presidential privilege.
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                  The Special Counsel rebutted Twitter’s efforts to raise
             executive privilege concerns by arguing that there was “no
             plausible reason to            conclude that the former
             President … would have used Twitter’s direct-message
             function to carry out confidential communications.” But it is
             widely known that President Trump used his Twitter account
             to conduct official business. This is precisely why the contents
             of the account were deposited with the National Archives.
             Because some functions of a Twitter account, such as direct
             messages, are private and confidential, it is entirely plausible
             that the President’s account may have contained privileged
             material. In fact, Twitter vigorously maintained this possibility.
             The district court dismissed the concerns about executive
             privilege and also questioned the company’s motives in raising
             claims on behalf of President Trump.2 Under longstanding
             precedent, however, the Special Counsel should not have been
             allowed to evade an assertion of presidential privilege simply
             by issuing the warrant to a third party—“it is, after all, the
             President’s information.” Mazars, 140 S. Ct. at 2035.

                  Furthermore, the Special Counsel maintained that there
             was not even a colorable claim of executive privilege because
             the warrant for President Trump’s Twitter account came from
             the Executive Branch and therefore could not implicate the
             separation of powers. This claim flies in the face of Supreme
             Court and circuit precedent. To begin with, the Court has held
             that a former President may assert executive privilege,
             including against disclosure within the Executive Branch. See
             GSA, 433 U.S. at 448–49. In addition, there is no suggestion
             that the incumbent President waived executive privilege for
             this investigation, and the Special Counsel maintains a studied

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               In just one of several examples, the district court asked Twitter’s
             lawyers if they were litigating the case only because “the CEO wants
             to cozy up with the former President.”
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             “independence” from the Department of Justice, the Attorney
             General, and the President.3 And finally, the Supreme Court
             has recently recognized that a conflict between a former and
             incumbent President over executive privilege raises “serious
             and substantial concerns.” Trump v. Thompson, 142 S. Ct. 680,
             680 (2022) (denial of application for stay of mandate and
             injunction pending review). The Court’s statement forecloses
             the Special Counsel’s claim that, in effect, any Executive
             Branch official can dodge a former President’s claim of
             executive privilege without judicial review.

                 Nothing in the foregoing precludes the possibility that, if
             the former President had asserted executive privilege, the
             Special Counsel could have surmounted it by demonstrating a
             “specific need for evidence in a pending criminal trial.” Nixon,
             418 U.S. at 713. But the Court and this circuit have always
             undertaken that balance with meticulous attention to the
             constitutional privilege protecting the President and his Office.

                                            ***

                 Before this case, presidential materials were
             presumptively privileged, even in the absence of an assertion
             of privilege. Such presumption recognized the importance of
             confidentiality to the effective and energetic discharge of the
             President’s duties. The presumption also limited the role of the
             courts when called on to balance executive privilege against


             3
               See Press Release No. 22-1238, U.S. Dep’t of Just., Statement of
             Special Counsel Jack Smith (Nov. 18, 2022) (stating “I intend to
             conduct the assigned investigations, and any prosecutions that may
             result from them, independently”); see also Press Release No. 22-
             1237, U.S. Dep’t of Just., Appointment of a Special Counsel (Nov.
             18, 2022) (“[T]he Special Counsel will not be subject to the day-to-
             day supervision of any [DOJ] official.”).
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             other constitutional interests. Without a word, the district court
             and our court have flipped the presumption.

                  The absence of a presumptive privilege particularly
             threatens the Chief Executive when, as here, a third party holds
             presidential communications. See Mazars, 140 S. Ct. at 2035.
             And to be sure it aggrandizes the courts, which will have the
             power to determine whether executive privilege will be
             considered before its breach. Without a presumption for
             executive privilege, new questions will invariably arise,
             particularly because nothing in the panel’s opinion is limited to
             a former President. What if, in the course of a criminal
             investigation, a special counsel sought a warrant for the
             incumbent President’s communications from a private email or
             phone provider? Under this court’s decision, executive
             privilege isn’t even on the table, so long as the special counsel
             makes a showing that a warrant and nondisclosure order are
             necessary to the prosecution. And following the Special
             Counsel’s roadmap, what would prevent a state prosecutor
             from using a search warrant and nondisclosure order to obtain
             presidential communications from a third-party messaging
             application? And how might Congress benefit from this
             precedent when it seeks to subpoena presidential materials
             from third parties in an investigation or impeachment inquiry?

                 Not every “wolf comes as a wolf.” Morrison v. Olson, 487
             U.S. 654, 699 (1988) (Scalia, J., dissenting). Perhaps the threat
             here was hard to spot. Nevertheless, judicial disregard of
             executive privilege undermines the Presidency, not just the
             former President being investigated in this case.
